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May 18, 2022

Raquel Pace

1639 Guadalajara Ave.
Brownsville, Texas, 78526

956-639-0033

To whom it may concern,

}am writing this letter to communicate Ryan Faircloth has been attending counseling services with me
since March 25, 2022. | am a licensed professional counselor in the state of Texas. My license number is
71791 with an expiration date of April 30,2023.

Ryan joined therapy through Betterhelp telehealth video sessions, an online ptatform. Currently, | am
providing services via a HIPAA compliant telehealth video platform called Doxyme. Ryan attends session
on a weekly basis. During our sessions, Ryan has exhibited polite, courteous, and respectful behavior.
Ryan is always prompt for session. He is engaged fully in the context of the session.

Thank you,
Raquel C. Pace, M.Ed., LPC
